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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  CRIMINAL NO. 21-cr-10104-PBS
                                     )
VLADISLAV KLYUSHIN                   )
            Defendant                )
____________________________________)

  MOTION TO PRECLUDE TESTIMONY OF SURPRISE GOVERNMENT WITNESS
                      OR FOR OTHER RELIEF

       On Fri. Feb. 3, roughly halfway through a projected two-week trial, the government

announced to the Court and defense its intent to present “surprise” venue testimony – from a

witness not appearing on its witness list, due back on Jan. 23 – early next week. T. 5-95 (quoting

the Court). This decree followed the government’s producing new discovery the night before and

then introducing an exhibit – 267 – from that discovery on highly technical matters: venue and

the location of an IP address in late Oct. and early Nov. 2018.

       The government has been investigating this case since Sep. 2019. It charged Mr.

Klyushin in Mar. 2021. Four-and-half years have passed since the investigation began – and

nearly 22 months since Mr. Klyushin was charged and arrested. The investigation generated

millions of records. In fact, the enormous volume of discovery and its late production to the

defense forced the Court to postpone the trial from Oct. 2022 to Jan. 2023.

       It’s no newsflash that venue is an issue in this case. To the contrary, the government has

“known” that venue is an issue from the “get-go,” as the Court noted on the record the other day.

T. 4-85. Nevertheless, the government continues to try to surprise the defense with new

documents – and now a surprise witness. The defense was built based on the discovery the


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government produced and the representations the government made in its witness and exhibit

lists. Obviously, the defense relied on those representations in forming its strategy.

       Still, the government continues to investigate, produce and introduce newly located

evidence like Ex. 267. And now it seeks to present surprise testimony from a former Micfo

employee. What’s more, the proposed testimony – according to a 302 prepared by Agent

Hitchcock Feb. 3, during a recess in his own testimony – is dense, technical and hard to

understand. There is no time to decipher or investigate it over a record-cold weekend before the

government would have the witness – reportedly from Raleigh, NC (T. 5-95) – take the stand.

       Worse, Mr. Nemtsev – in reliance on the government’s witness list – already represented

to the jury in the defense’s opening statement: “[N]o one from Micfo will tell you that they took

that IP address and placed it on one of their servers in Boston, Massachusetts.” T. 1-85. Now, the

government seeks to introduce just that – testimony from a former Micfo employee. As the Court

also noted on the record, “[we’re] supposed to have a witness list beforehand” precisely so the

parties can strategize accordingly – and to prevent just this sort of unfair surprise after they do.

T. 5-95-96; see U.S. v. Gasparik, 141 F. Supp. 2d 361, 366 (SDNY 2001) (“Had defendants

learned that Hait might be a witness, even on the morning of trial, they might have adjusted their

trial strategy or, at the very least, presented different opening statements.”). The addition of a

new exhibit has already forced the defense to rework its cross-examination of Agent Hitchcock.

On top of discrediting counsel before the jury – based on representations emanating from the

government’s own witness list – adding a new witness will force them to retrofit the defense

halfway through a two-week trial.

       Because the last-minute testimony would thus “prejudice” the defense irreparably, the

Court should rebuff the government’s attempt to try Klyushin by ambush and preclude it. See,

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e.g., id. at 365-68 (where, as here, “[l]earning of this witness mid-trial has created both unfair

surprise and prejudice” – particularly “because of the statements and representations defendants

made in their opening statements” – court ordered preclusion in similar circumstances); accord

U.S. v. Taylor, 71 F. Supp. 2d 420, 421-24 (DNJ 1999) (same; “[h]ad [defense counsel] known

that the [g]overnment would present expert testimony on the fingerprint cards, she might have

changed her opening statement, a portion of her cross-examination, or adopted a different trial

strategy”); cf. U.S. v. Cruz, 156 F.3d 22, 30 (CA1 1998) (inadvertently delayed pretrial

disclosure; plain error claim). This is especially true since it’s now too late to “ask[] if the jury

knows” the proposed witness, as the Court has already recognized. T. 5-95.

          Failing preclusion, Klyushin deserves a mistrial declaration – and an order barring retrial

on the ground that the government’s Perry Mason tactics goaded him into requesting one.

Klyushin should not be put to the Hobson’s choice of surrendering one fundamental right – the

right to have his case “finally decided by the jury first selected,” Or. v. Kennedy, 456 U.S. 667,

672 (1982) (citation and internal quotes omitted) – in order to exercise another – the right to be

tried fairly, without ambush or prejudicial surprise. Cf. Simmons v. U.S., 390 U.S. 377, 394

(1968).

          The defense respectfully requests this Honorable Court to decide the issue prior to the

start of Agent Hitchcock’s cross-examination – which is expected to start during the first part of

tomorrow’s day – to determine how the cross-examination topics (if at all) need to be further

reworked.




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                                                    Respectfully Submitted,
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Dated: February 5, 2023




                                CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, February 5, 2023, a copy of the
foregoing documents has been served via Electronic Court Filing system on all registered
participants.



                                                    /s/ Maksim Nemtsev
                                                    Maksim Nemtsev, Esq.




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